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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:22-CV-23753-KMM

   EDWIN GARRISON, et al. on behalf of
   themselves and all others similarly
   situated,

             Plaintiff,

   v.

   SAM BANKMAN-FRIED, et al.,

         Defendants.
   __________________________________/

    [PROPOSED] ORDER GRANTING PLAINTIFFS’ REQUEST FOR A BRIEF STATUS
                             CONFERENCE

        THIS MATTER having come before the Court on the Plaintiffs’ Request for a Brief Status

   Conference (ECF No. __). The Court has considered the motion and the pertinent portions of the

   record.

             ORDERED AND ADJUDGED that:

                 1. A status conference is scheduled in this matter for [DATE] at [TIME].

                 2. The Court will circulate Zoom instructions by separate Order in advance of the

                     conference

             DONE and ORDERED in Chambers in Miami, Florida, this __ day of March, 2023.



                                                         ___________________________________
                                                         K. MICHAEL MOORE
                                                         UNITED STATES DISTRICT JUDGE

   Copies furnished to: All Counsel of Record
